   Case 24-05385         Doc 7        Filed 04/15/24 Entered 04/15/24 11:02:12                  Desc Main
                                         Document    Page 1 of 1

                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: In re: Oberweis Diary, Inc.                    Case Number: 24-05385


An appearance is hereby filed by the undersigned as attorney for:
CIBC Bank USA
Attorney name (type or print): Eric S. Rein

Firm: Kilpatrick Townsend & Stockton LLP

Street address: 500 W. Madison St., Suite 3700

City/State/Zip: Chicago, IL 60661

Bar ID Number: 6181305                                     Telephone Number: 312-606-3200
(See item 3 in instructions)

Email Address: rrein@ktslaw.com; ecfnotices@ktslaw.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this &ourt an attorney must either be a member in good standing of this &ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 8.6.&§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on April 15, 2024

Attorney signature:            S/ Eric S. Rein
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
